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Case 1:12-cv-07728-GBD-HBP Document 228 Filed 05/18/18 Page 1 of 1

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SEC CURITIE 3 AND EXCHANGE ; nee !
COMMISSION, : 2
Plaintit,
¥. : 12 CVY 7728 (GBD)
YORKVILLE ADVISORS, LLC, : ECE CASE
MARK. ANGELO and KDWARR SCHINIK, :
Defendants.

IPULAT LON OF ¥ OLUNT ARY DISMISSAL WITH FREAD DICE

IT IS HEREBY STIPULATED AND AGREED, by and between the parties
and/or their respective counsel that the above-captioned action is voluntarily dismissed
with prejudice against all defendants pursuant to Federal Rule of Civil Procedure
Alay AG.

Dated: May 18, 2018

fs
py. / eed

Todd D. Brody “se Caryn G, Schechtman
Securilics and Lixchange Commission DLA Piper LLP (US}

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New York, NY 10281 — - Tel: (212) 335-4593

Fel: (212) 336-0080 Attorney for Defendants

Attorney for Plaintiff

SO ORDERED, this day of May, 2018,

Gerae 8. Dorel

URyTE TATES DISTRICT JUDGE
MAY 1 8 2018

